Case 1:21-cr-00371-BMC-TAM Document 67 Filed 01/31/22 Page 1 of 2 PageID #: 610




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA
                                                    Case No.: 1:21-cr-00371-BMC-TAM
  v.
                                                    NOTICE OF DEFENDANT THOMAS J.
  AL MALIK ALSHAHHI, et al.                         BARRACK, JR.’S MOTION TO DISMISS
                                                    THE INDICTMENT
                 Defendants.


        PLEASE TAKE NOTICE that upon the accompanying memorandum of law in support

 and the declaration of James A. Bowman and all exhibits attached thereto, defendant Thomas J.

 Barrack, Jr. moves this Court for an order dismissing the government’s indictment and requests

 that the Court hear oral argument on this motion during the March 22, 2022 status conference or

 as soon thereafter as available on the Court’s calendar.

        PLEASE TAKE FURTHER NOTICE that, upon prior order of the Court, answering

 papers, if any, shall be served on or before February 28, 2022, and any reply papers shall be served

 on or before March 14, 2022.


  Dated: January 31, 2022                           Respectfully submitted,
         Los Angeles, CA
                                                    O’MELVENY & MYERS LLP

                                                    _/s/ Daniel M. Petrocelli____________
                                                    Daniel M. Petrocelli, Esq. (admitted pro hac vice)
                                                    1999 Avenue of the Stars, 8th Floor
                                                    Los Angeles, CA 90067
                                                    Telephone: (310) 553-6700
                                                    Facsimile: (310) 246-6779
                                                    E-mail: dpetrocelli@omm.com

                                                    James A. Bowman (admitted pro hac vice)
                                                    400 South Hope Street, 18th Floor Los
                                                    Angeles, CA 90071
                                                    Telephone: (213) 430-6000
Case 1:21-cr-00371-BMC-TAM Document 67 Filed 01/31/22 Page 2 of 2 PageID #: 611




                                           Facsimile: (213) 430-6407
                                           E-mail: jbowman@omm.com

                                           Nicole M. Argentieri
                                           Times Square Tower
                                           7 Times Square
                                           New York, New York 10036
                                           Telephone: (212) 326-2000
                                           Facsimile: (212) 326-2061
                                           E-mail: nargentieri@omm.com

                                           Attorneys for Thomas J. Barrack, Jr.




                                       2
